                      1        WILLIAM A. ROMAINE #126966
                               LAW OFFICE OF WILLIAM A. ROMAINE
                      2        1200 SOUTH WOODLAND STREET, SUITE A
                               VISALIA, CALIFORNIA 93277
                      3
                               TELEPHONE 559 635 3040
                      4        TELECOPIER 559 635 3044
                      5        ATTORNEYS FOR PLAINTIFF ARLENE AVILA
                      6
                      7
                      8
                                                          United States District Court
                      9
                                                          Eastern District of California
                    10
                    11
                    12
                                 ARLEEN AVILA,                              Case No.
                    13
                                                  Plaintiff,                COMPLAINT FOR DAMAGES
                    14
                                        vs.                                 [42 USC. § 1983; 42 USC § 12132; 42
                    15                                                      USC § 12203; False Arrest and
                                                                            Imprisonment; Intentional Infliction of
                    16           CITY OF VISALIA, A CALIFORNIA              Mental Distress
                                 MUNICIPAL CORPORATION,
                    17           ANDREW SWARTHOUT, an                       JURY TRIAL DEMANDED BY
                                 individual, RAMONA CASEY, an               PLAINTIFF
                    18           individual, JON PREE, an individual;
                                 and BRENT ABBOTT, an individual.
                    19
                    20                 Plaintiff alleges and hereby respectfully demands trial by jury on the following:
                    21                                            JURISDICTION
                    22                 1.     Plaintiff is, and at all times material hereto was an individual residing
                    23                        within the United States of America and protected by the Constitution
                    24                        and Laws thereof;
                    25                 2.     Defendants herein named are and at all times material hereto were
                    26                        individuals and/or corporate entities acting within the United States of
                    27                        America and in the State of California under the color of law thereof.
                    28         ///
LAW OFFICE OF
W ILLIAM A. ROMAINE
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                3.     The first, second, and third causes of action set forth in this complaint
                      2                       arise under the Constitution, laws, or treaties of the United States in
                      3                       that they seek redress provided for by the provisions of 42 U.S.C, §
                      4                       1983, and Subchapters II and IV of Chapter 126 of Title 42 United
                      5                       States Code and, therefore, this court has original jurisdiction in this
                      6                       matter pursuant to the provisions of 28 U.S.C. § 1331.           The other
                      7                       claims set forth in this complaint give rise to remedies pursuant to the
                      8                       laws of the State of California, but arise from the same set of operative
                      9                       facts that give rise to plaintiff’s claims under the Laws of the United
                    10                        States and therefore are so closely related to the claims set forth in the
                    11                        first, second, and third causes of action that plaintiff prays this court to
                    12                        exercise its supplemental jurisdiction provided by 28 U.S.C. § 1367 and
                    13                        to hear those matters as part of the same action.
                    14                 4.     To the extent that any defendant here may claim some immunity
                    15                        against suit pursuant to Amendment XI of the United States
                    16                        Constitution, that immunity has been abrogated, as to the second and
                    17                        third causes of action by the provisions of 42 U.S.C. § 12202.
                    18                               STATEMENT OF OPERATIVE FACTS
                    19                 5.     Plaintiff incorporates here and alleges as if set out in full each and
                    20                        every allegation set forth in paragraphs 1 through 4, inclusive, of this
                    21                        Complaint.
                    22                 6.     On or about May 11, 2007, plaintiff was then and there a qualified
                    23                        individual with a disability within the contemplation of 42 U.S.C. §
                    24                        12131, subsection (2) in that she suffered from Parkinson’s Disease, a
                    25                        systemic neurological disorder of continued duration that resulted in
                    26                        her meeting the essential eligibility requirements for the receipt of
                    27                        services or the participation in programs or activities provided by a
                    28                        public entity.
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                          -2-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                7.     On or about May 11, 2007, defendants City of Visalia was a “public
                      2                       entity” as that term is defined by 42 U.S.C. } 12131 and by and through
                      3                       its police department, as well as its employees: defendants ANDREW
                      4                       SWARTHOUT, RAMONA CASEY, JON PREE, and BRENT ABBOTT,
                      5                       attended to provide public services in response to a call to the location
                      6                       where plaintiff was driving her automobile in the City of Visalia, State
                      7                       of California.
                      8                8.     Upon arriving upon the location where plaintiff was driving her
                      9                       automobile, said defendants erroneously determined that plaintiff had
                    10                        been driving her automobile in violation of the laws of the State of
                    11                        California, to wit: under the influence of alcohol or a drug. In making
                    12                        this determination, said defendants failed to consider information then
                    13                        and there provided to them that plaintiff was not under the influence
                    14                        of alcohol or a drug, but was rather suffering from the debilitating effect
                    15                        of her disability.
                    16                 9.     Said defendants then and there became enraged by the failure of
                    17                        plaintiff to cooperate with their efforts to arrest her for driving under
                    18                        the influence of alcohol or a drug and began to physically and verbally
                    19                        assault her repeatedly.
                    20                 10.    Without performing an adequate investigation to determine whether
                    21                        they had probable cause to do so, said defendants physically restrained
                    22                        plaintiff and seized her person and removed her to a hospital against
                    23                        her will and over her objection.
                    24                 11.    After taking plaintiff to a hospital for a medical examination,
                    25                        defendants knew or should have known that plaintiff had not been
                    26                        driving an automobile under the influence of alcohol or a drug as
                    27                        proscribed by the laws of the State of California.           Despite this
                    28                        knowledge, however, said defendants continued to seize plaintiff’s
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                          -3-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                       person and transported her to the Tulare County Jail Bob Wiley
                      2                       Detention Center where she was detained and charged with driving a
                      3                       vehicle while under the influence of alcohol or a drug. Plaintiff was
                      4                       subsequently acquitted of all such charges.
                      5                12.    In so transporting plaintiff, defendants failed to provide plaintiff with
                      6                       the necessary assistive devices she required to overcome some of the
                      7                       limitations of her disability, although provision of those devices,
                      8                       including, but not limited to, a wheel chair, was reasonable under the
                      9                       circumstances. Defendants also failed to timely provide plaintiff with
                    10                        the medications she required to overcome some of the more debilitating
                    11                        aspects of her Parkinson’s Disease symptoms.
                    12                 13.    Plaintiff has subsequently publicly asserted her rights under 42 U.S.C.
                    13                        Chapter 126 and has publicly opposed and prosecuted defendants, and
                    14                        each of them, for their alleged practices depriving her of rights secured
                    15                        to her under that Chapter.
                    16                 14.    In direct and intentional retaliation for plaintiff’s assertion of her rights
                    17                        and prosecution of defendants, defendants, and each of them, have
                    18                        discriminated against plaintiff in the provision of public safety services
                    19                        to her by failing to respond promptly to her calls for public safety
                    20                        services and/or by responding to her calls in such a way and manner as
                    21                        to result in her being coerced into treatments that were unwarranted
                    22                        and untherapeutic and have intimidated her by patrolling her private
                    23                        property for evidence of some conduct on her part that may subject her
                    24                        to arrest and charge on some legal matter and by surveilling her and
                    25                        her property, and by other acts intended to create in plaintiff an
                    26                        understanding that she was being singled out for disparate treatment
                    27                        by said defendants in retaliation for her opposition and prosecution.
                    28         ///
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                           -4-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                                     FIRST CAUSE OF ACTION
                      2           (Deprivation of Federally Bestowed Rights Under Color of State Law)
                      3                15.    Plaintiff incorporates here and alleges as if set out in full each and
                      4                       every allegation set forth in paragraphs 1 through 14, inclusive, of this
                      5                       Complaint.
                      6                16.    Purporting to act under the color of the laws of the State of California,
                      7                       defendants and each of them deprived plaintiff of rights secured to her
                      8                       by the provisions of the Constitution and laws of the United States, to
                      9                       wit:   seizure, in violation of the provisions of Amendment IV of the
                    10                        United States Constitution, of plaintiff’s person without warrant and
                    11                        without probable cause to believe that she had committed a crime;
                    12                        discrimination by the City of Visalia, in its capacity as a public entity
                    13                        against plaintiff on the basis of her disability; and retaliation against
                    14                        plaintiff on the basis of her opposing the practices of the City of Visalia
                    15                        which practices were in violation of the provisions of Subchapter II of
                    16                        Chapter 126 of Title 42 of the United States Code and for asserting her
                    17                        rights with respect to those practices.
                    18                 17.    As a direct and proximate result of the deprivation by defendants of
                    19                        plaintiff’s rights set forth in paragraph 16 hereto, plaintiff suffered
                    20                        injury in her person and emotional state in that she was subjected to
                    21                        painful delay in treatment for her illness, she was bruised by the
                    22                        physical force and restraints used by the defendants to coerce her to go
                    23                        to the hospital and transport her to the detention facility, and she
                    24                        suffered embarrassment, humiliation, dismay, obloquy, and other
                    25                        general distress as a result of defendants’ conduct towards her, all of
                    26                        which resulted in plaintiff incurring medical expenses and general
                    27                        damages in a sum according to proof.
                    28
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                          -5-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                18.    The conduct of defendants in doing the things hereinabove set forth was
                      2                       so egregious and unwarranted and so blatantly in violation of plaintiff’s
                      3                       rights as to warrant the imposition of punitive damages against them
                      4                       for the purposes of deterrence of future such conduct and to make a
                      5                       public example of them to deter such conduct in others in future.
                      6        WHEREFORE, plaintiff prays judgment as hereinafter set forth.
                      7                                    SECOND CAUSE OF ACTION
                      8                  (Discrimination under the Americans With Disabilities Act)
                      9                19.    Plaintiff incorporates here and alleges as if set out in full each and
                    10                        every allegation set forth in paragraphs 1 through 14, inclusive, of this
                    11                        Complaint.
                    12                 20.    At all times material hereto, plaintiff was diagnosed as suffering from
                    13                        Parkinson’s Disease, a debilitating neurological disorder that impairs
                    14                        its sufferers–and in particular plaintiff–in the ability to perform the
                    15                        everyday functions of their lives including, but not limited to: narrowing
                    16                        the types of employment plaintiff may perform, interrupting plaintiff’s
                    17                        mobility, preventing plaintiff from normal daily activities such as
                    18                        dressing, walking without assistance, and caring for herself.
                    19                 21.    During the encounter between plaintiff and defendants on May 11,
                    20                        2007, as more particularly described in paragraphs 7 through 12,
                    21                        inclusive, of this complaint, defendants knew or should have known
                    22                        that plaintiff was not in violation of any law and that her behavior was
                    23                        the result of her disability and the deprivation of timely required
                    24                        medications.     It knew, or should also have known that plaintiff
                    25                        required certain assistive devices, including, but not limited to, a wheel
                    26                        chair to function more normally. It knew or should have known that
                    27                        plaintiff required medications to function normally, and it knew or
                    28                        should have known that all of these things that plaintiff needed were
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                          -6-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                       reasonably available and could be provided by said defendants to
                      2                       plaintiff. Despite that knowledge, defendants discriminated against
                      3                       plaintiff by subjecting her to tests and investigations that were
                      4                       impossible for her to perform without reasonable accommodation, failed
                      5                       to offer her that accommodation, and deprived her of her required
                      6                       medications and assistive devices and instead subjected her to arrest
                      7                       and detention for having symptoms of her disability that in some
                      8                       respects mimicked symptoms of intoxication by alcohol or a drug.
                      9                22.    As a direct and proximate result of the deprivation by defendants of
                    10                        plaintiff’s rights set forth in paragraph 21 hereof, plaintiff suffered
                    11                        injury in her person and emotional state in that she was subjected to
                    12                        painful delay in treatment for her illness, she was bruised by the
                    13                        physical force and restraints used by the defendants to coerce her to go
                    14                        to the hospital and transport her to the detention facility, and she
                    15                        suffered embarrassment, humiliation, dismay, obloquy, and other
                    16                        general distress as a result of defendants’ conduct towards her, all of
                    17                        which resulted in plaintiff incurring medical expenses and general
                    18                        damages in a sum according to proof.
                    19                 23.    The conduct of defendants in doing the things hereinabove set forth was
                    20                        so egregious and unwarranted and so blatantly in violation of plaintiff’s
                    21                        rights as to warrant the imposition of punitive damages against them
                    22                        for the purposes of deterrence of future such conduct and to make a
                    23                        public example of them to deter such conduct in others in future.
                    24         WHEREFORE, Plaintiff prays judgment as hereinafter set forth.
                    25         ///
                    26         ///
                    27         ///
                    28
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                         -7-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                                    THIRD CAUSE OF ACTION
                      2                                              (Retaliation)
                      3                24.    Plaintiff incorporates here and alleges as if set out in full each and
                      4                       every allegation set forth in paragraphs 1 through 14, inclusive, of this
                      5                       Complaint.
                      6                25.    After the deprivations set forth in paragraph 21 of this Complaint,
                      7                       plaintiff opposed the discriminatory practices of defendants by resisting
                      8                       them, by refusing to cooperate with them in humiliating her, and,
                      9                       subsequently, by filing and maintaining litigation against defendants
                    10                        to vindicate rights secured to her under Subchapter II of Chapter 126
                    11                        of Title 42, United States Code.
                    12                 26.    Following this opposition and institution of litigation by plaintiff,
                    13                        defendants and each of them have retaliated against plaintiff by
                    14                        discriminating against her as more particularly set forth in paragraph
                    15                        14 of this Complaint and have thereafter continually conducted a
                    16                        campaign of harassment and intimidation against plaintiff for the
                    17                        purpose of discouraging and punishing her opposition and litigation
                    18                        towards them.
                    19                 27.    As a direct and proximate result of the retaliation by defendants of
                    20                        plaintiff’s rights set forth in paragraphs 14 and 26 hereof, plaintiff
                    21                        suffered injury in her person and emotional state in that she has been
                    22                        forced to suffer the fear of a perceived inability to receive timely
                    23                        emergency services, the fear of summoning emergency services because
                    24                        of the possibility that she will be derided for making such a summons,
                    25                        the fear of contacts with public safety personnel for fear that she will be
                    26                        accused of some sort of wrongdoing, all to her general damage,
                    27                        according to proof.
                    28         ///
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                          -8-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                28.    The conduct of defendants in doing the things hereinabove set forth was
                      2                       so egregious and unwarranted and so blatantly in violation of plaintiff’s
                      3                       rights as to warrant the imposition of punitive damages against them
                      4                       for the purposes of deterrence of future such conduct and to make a
                      5                       public example of them to deter such conduct in others in future.
                      6        WHEREFORE, plaintiff prays judgment as hereinafter set forth.
                      7                                    FOURTH CAUSE OF ACTION
                      8                                 (False Arrest and Imprisonment)
                      9                29.    Plaintiff incorporates here and alleges as if set out in full each and
                    10                        every allegation set forth in paragraphs 1 through 14, inclusive, of this
                    11                        Complaint.
                    12                 30.    In doing the things alleged in paragraphs 6 - 11 inclusive of this
                    13                        complaint, defendants subjected plaintiff to false arrest and
                    14                        imprisonment in that there was no lawful ground for defendants to
                    15                        arrest and imprison plaintiff and the defendants knew, or should have
                    16                        known that the grounds alleged: to wit, driving under the influence of
                    17                        alcohol or a drug, were false and not supported.
                    18                 31.    As a direct and proximate result of the retaliation by defendants of
                    19                        plaintiff’s rights set forth in paragraph 21 hereto, plaintiff suffered
                    20                        injury in her person and emotional state in that she has been forced to
                    21                        suffer the fear of a perceived inability to receive timely emergency
                    22                        services, the fear of summoning emergency services because of the
                    23                        possibility that she will be derided for making such a summons, the fear
                    24                        of contacts with public safety personnel for fear that she will be accused
                    25                        of some sort of wrongdoing, all to her general damage, according to
                    26                        proof.
                    27                 32.    The conduct of defendants in doing the things hereinabove set forth was
                    28                        so egregious and unwarranted and so blatantly in violation of plaintiff’s
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                          -9-
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                       rights as to warrant the imposition of punitive damages against them
                      2                       for the purposes of deterrence of future such conduct and to make a
                      3                       public example of them to deter such conduct in others in future.
                      4        WHEREFORE, Plaintiff prays judgment as hereinafter set forth.
                      5                                     FIFTH CAUSE OF ACTION
                      6                            (Intentional Infliction of Mental Distress)
                      7                33.    Plaintiff incorporates here and alleges as if set out in full each and
                      8                       every allegation set forth in paragraphs 1 through 14, inclusive, of this
                      9                       Complaint.
                    10                 34.    The conduct of defendants in doing the things more particularly alleged
                    11                        in paragraph 14 of this complaint was outrageous conduct, intentionally
                    12                        done for the purpose of–or with a substantial certainty of–inflicting
                    13                        severe mental and emotional distress upon plaintiff and causing her to
                    14                        suffer such mental and emotional distress and such conduct did cause
                    15                        plaintiff to suffer such mental and emotional distress.
                    16                 35.    As a direct, intended, and proximate result of this infliction of emotional
                    17                        distress, plaintiff suffered injury in her person and emotional state in
                    18                        that she has been forced to suffer the fear of a perceived inability to
                    19                        receive timely emergency services, the fear of summoning emergency
                    20                        services because of the possibility that she will be derided for making
                    21                        such a summons, the fear of contacts with public safety personnel for
                    22                        fear that she will be accused of some sort of wrongdoing, all to her
                    23                        general damage, according to proof.
                    24                 36.    The conduct of defendants in doing the things hereinabove set forth was
                    25                        so egregious and unwarranted and so blatantly in violation of plaintiff’s
                    26                        rights as to warrant the imposition of punitive damages against them
                    27         ///
                    28         ///
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                         - 10 -
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
                      1                       for the purposes of deterrence of future such conduct and to make a
                      2                       public example of them to deter such conduct in others in future.
                      3        WHEREFORE, Plaintiff prays judgment as hereinafter set forth.
                      4                                               PRAYER
                      5                By reason of the allegations set forth above, plaintiff prays judgment against
                      6        defendants and each of them, as follows:
                      7                1.     For general and special damages against defendants, and each of them,
                      8                       in a sum, according to proof, sufficient to compensate plaintiff for
                      9                       economic and non economic losses she suffered as a result of defendants’
                    10                        conduct as herein alleged;
                    11                 2.     For punitive or exemplary damages against defendants, and each of
                    12                        them in a sum sufficient for the purposes of deterrence of future such
                    13                        conduct and to make a public example of them to deter such conduct in
                    14                        others in future;
                    15                 3.     For a temporary restraining order, preliminary, and permanent
                    16                        injunction as required to prevent further occurrences of the retaliation
                    17                        described in paragraphs 14 and 26 of this Complaint;
                    18                 4.     For costs of this action, including a reasonable attorney’s fee; and
                    19                 5.     For such other and further relief as this court deems just and
                    20                        appropriate.
                    21         Dated: May 11, 2009                         Law Office of William A. Romaine
                    22
                    23
                    24                                                     ________________s/_______________________
                                                                           William A. Romaine, Attorney for Plaintiff
                    25                                                     1200 South Woodland Street # A
                                                                           Visalia, California 93277-4212
                    26                                                     (559) 635 3040 (Voice)
                                                                           (877) 435 1991 (Fax)
                    27
                               ///
                    28
LAW OFFICE OF
W ILLIAM A. ROMAINE

                                                                        - 11 -
1200 S. W OODLAND ST. SUITE
A                             Complaint.wpd
VISALIA, CALIFORNIA 93277

TELEPHONE 559 635 3040
TELECOPIER 559 635 3044
